                 Case 2:10-cr-00172-RLH-GWF            Document 184       Filed 07/08/11          Page 1 of 1
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                   JOHN J.M OM OT,ESQ.                                                     F9223                   8EZEIVED
                  NevadaBarNo.1700                                                         ENICRED                 SEI
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                   YILIN ZHENG,ESQ.                                                                  COUNTEL/FIFTIE:ûFFIECII9I)
                  NevadaBarNo.10811
                  JO IIN J.M OM O T,L'l*D .                                                   /tlL - 8 2211
                  520 So.Fourth St.,Ste.300
                  LasVegas,Nevada 89101
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                  (702)385-7170                                                              DISTRICTOFNEVIDA
                  A ttorneys for Defendant                                        8%   -
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                                Plaintiff,                      )      Case N o.2:10-cr-172-R LH -PA L
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    J ro                vs.                                     )
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    N      .J                         AT THE CO NCLUSION OF SENTENCING

                        UPON theREQUEST TO BE RELIEVED AS COUNSEL FOR PURPOSES OFAPPEAL
                  AT THE CONCLUSION OF SENTENCING,submittedbyattolmeyJol4N J.M OM OT,ESQ.and
                  YILm ZHENG,ESQ.,andforgoodcauseshown,
                        IT IS HEREBY ORDERED thatdefensecounsels'REQUEST TO BE RELIEVED AS
                  COUNSEL FOR PURPOSES OF APPEAL AT THE CON CLUSION OF SENTEN CING for

                  Defendant,LIOR ZAKEN ,ishereby granted.

                        D A TED this   S' dayoru ly,2011.
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